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   ________                                                 May 29, 2020
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     VIA ECF AND LAWYER’S SERVICE
     Honorable Juan R. Sánchez, U.S.D.J
     U.S. District Court of the Eastern District of Pennsylvania
     James A. Byrne U.S. Courthouse
     601 Market Street
     Philadelphia, PA 19106


                RE:        Xavier Ingram v. County of Camden, et al.
                           Civil Action: 1:14-cv-05519-JRS


     Dear Chief Judge Sánchez:

             This letter is submitted jointly on behalf of all counsel. First and foremost, all counsel wish
     to thank Your Honor for the extensive time and attention provided in reviewing the details and
     current status of this case during our initial conference on May 28, 2020. In follow up, all counsel
     participated in a meet and confer regarding the pending motions which includes Defendants’
     Motion to Bifurcate and the parties’ respective Motions In Limine.

             Collectively, we propose and respectfully request that the Court first address and decide
     the Motion to Bifurcate (D.E. 265-272). The reason for this is two-fold. Firstly, this motion is
     fully briefed, ready for oral argument and resolution. Moreover, this Court’s decision on
     bifurcation will impact a number of the Motions in Limine. In other words, if this Court grants or
     denies bifurcation, then a number of the Motions in Limine may become moot or may be resolved
     by stipulation. If the Court is inclined to proceed in this manner, the parties request that a date be
     set down for oral argument on the Motion to Bifurcate, and that the Court Order that within 45
     days of the Court’s decision on the Motion to Bifurcate the parties file a stipulation resolving the
     pending Motions In Limine and file their opposition as to those pending Motions in Limine not
     resolved by stipulation. Replies would be due 14 days thereafter. Resolution of the Motion to
     Bifurcate, followed by resolution of the Motions in Limine will also help facilitate finalization of
     the Final Pre-Trial Order.
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         If this proposal is not acceptable to the Court, then we propose that all parties file their
  oppositions to all Motions In Limine by July 15, 2020 and all replies shall be filed by July 29,
  2020.

          Finally, the parties respectfully seek guidance on the form of the Final Pre-Trial Order in
  light of the differences between Your Honor’s Procedures and those of the New Jersey District
  Court. Over the past several months, counsel have had numerous in-person conferences and
  worked extensively on the Final Pre-Trial Order. This has been a very productive and valuable
  process which resulted in streamlining certain aspects of the case. In short, we seek to retain the
  benefit of our collective efforts to date while accommodating the specific requirements of Your
  Honor’s Procedures. We look forward to working out these details in the course of our next
  conference with the Court.

            We thank you for Your Honor’s consideration.


                                                                Respectfully submitted,

                                                                /s/Beth G. Baldinger

                                                                BETH G. BALDINGER

  CC: All Counsel of Record




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